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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


                                       X
  In re PAYMENT CARD INTERCHANGE       : MDL No. 1720(MKB)(JAM)
  FEE AND MERCHANT DISCOUNT            :
  ANTITRUST LITIGATION                 : Civil No. 05-5075(MKB)(JAM)
                                       :
                                       : RULE 23(b)(3) CLASS COUNSEL’S
  This Document Relates To:            : MONTHLY REPORT REGARDING THIRD-
                                       : PARTY ENTITIES
           ALL ACTIONS.                :
                                       :
                                       x




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  I.       INTRODUCTION

           This is the nineteenth monthly report regarding third-party claims filers following the

  Court’s request.

           Rule 23(b)(3) Class Counsel (“Class Counsel”) and Epiq continue to receive

  communications regarding third parties. Calls received via the toll-free number are tracked and

  reported to Class Counsel from Epiq. Class Counsel also directly receives calls and emails

  regarding third parties that are followed up on immediately. Additionally, Class Counsel regularly

  searches online using various keywords to monitor new entrants. Epiq received 14 contacts

  regarding third parties since the last report. It also forwarded to Class Counsel certain specific

  issues which are discussed below.

           Now that the claims-filing deadline has passed, there have been fewer issues related to the

  solicitation of class members for filing. Monthly reports will continue.
  II.      STATUS OF PREVIOUS ORDERS TO SHOW CAUSE

           A.         Cardsettlement.org and Merchant Stronghold

           Matters related to cardsettlement.org appear to be managed. Cardsettlement.org provides

  a report regularly to detail its efforts regarding confirmation of engagement.
           Below is the most recent information provided by cardsettlement.org regarding client

  contacts:

                                 Affirmed               310
                                 Pending                499
                                 Rejected               2
                                 Total                  811

           The parties reached an agreement regarding cardsettlement.org’s payment of Epiq’s costs

  in handling issues related to cardsettlement.org from November 2024.              Class Counsel has

  confirmed the third payment has been received by Epiq.

           Class Counsel has still not received any further contact from Merchant Stronghold.



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           B.         Pacific Travel and Services LLC

           Epiq alerted Class Counsel to a concerning issue related to Pacific Travel and Services

  LLC (“Pacific Travel”), a company that appeared to be signing up merchants for claims filing and

  demanding pre-payment for services based on purported expected settlement benefits that were

  not true. A telephonic status conference was held on April 24, 2025. On April 28, 2025, the Court

  sought additional information from Class Counsel regarding its request that Epiq’s costs of

  administratively filing the 80 claims be assessed against Pacific Travel, including an estimate of

  such costs. See April 28, 2025 Text Order. On April 30, 2025, Class Counsel filed a letter in

  accordance with the Court’s Order. ECF 9604. That letter detailed the expected cost to have Epiq

  file the 80 claims associated with Pacific Travel.

           On May 8, 2025, the Court issued a Sua Sponte Report and Recommendation. ECF 9612.

  The Court recommended:
           that Chief Judge Brodie grant Class Counsel’s letter-motion at Dkt. No. 9596 and
           order i) Pacific Travel to refund all monies paid to it by class members for claims-
           filing services; ii) Pacific Travel to send a letter or email in English and Vietnamese
           (copying Class Counsel) to all 80 class members for whom it purports to act,
           explaining that: (a) Pacific Travel failed to include or require to be included Court-
           Ordered disclaimer language; (b) it lacks authority to file claims, (c) that the Class
           Administrator, Epiq, will assist class members at no cost; and (d) that Pacific Travel
           will refund the money it took from class members, as the amounts charged were
           not based on their expected recovery; and iii) Epiq to attempt to administratively
           file these claims, with the costs of the same charged to Pacific Travel.

  Id. at 14.

           The Court also recommended that “Pacific Travel be ordered to provide to Class Counsel

  and Epiq all necessary information regarding its class member merchant clients and marketers,

  including contact information for the same.” Id. To that end, on May 12, 2025, Class Counsel

  wrote to Pacific Travel and requested that it provide all necessary information by May 26, 2025.

  This date was chosen to give Pacific Travel enough time to appeal, should it take that step. Any

  response will be detailed in the next monthly report, or sooner should there be any issues.



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           C.         JAM3STRO

           On March 7, 2025, the Court issued a Sua Sponte Report and Recommendation regarding

  the entity JAM3STRO. ECF 9572. The time to object to the Report and Recommendation has

  elapsed. Id. at 13-14. There has still been no communication from this entity, despite service of

  the various Court orders regarding JAM3STRO. Class Counsel provided an invoice from Epiq on

  April 16, 2025, and followed up via email on April 22 and May 13. No response has been received.

  Further, Class Counsel still has received no response to the letter sent to the U.S. Department of

  Justice on March 11, 2025.
  III.     MISLEADING WEBSITES, SOLICITATIONS, AND OTHER MATTERS

           A.         LenCred

           Issues relating to LenCred were raised in the telephonic status conference held April 24,

  2025. In the Court’s Sua Sponte Report and Recommendation the Court noted that during

  conference on April 24, 2025, Class Counsel and LenCred stipulated that LenCred will pay the

  reasonable expenses incurred by Epiq regarding remediation of the false and misleading referral

  partner social media posts. See April 24, 2025 Minute Entry; see also ECF 9612 at 2 n.1. Epiq

  has not yet determined the expenses related to remediation, but is expected to do so in the coming

  days. The Court also noted at the conference: “LenCred is strongly cautioned that, while the Court

  does not recommend at this time that LenCred be barred from all settlement related services, should
  further issues arise, the Court may take such a step.” April 24, 2025 Minute Entry.
           B.         Outreach to Third Parties by Epiq

           As Class Counsel previously reported, since August 18, 2023, Epiq has been performing

  specific outreach efforts to known third-party claims filers.

           As of May 14, 2025, Epiq has received client lists from a total of 685 third-party claim

  filers claiming representation of 10 or more claimants which is an increase of 7 from last month’s

  report. The third parties claim total representation of 991,665 Tax Identification Numbers

  (“TINs”), which is an increase of 753 TINs from last month’s report.

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  IV.      CONCLUSION

           Class Counsel will continue to apprise the Court regarding issues with third-party claims

  filers via monthly reports and will bring urgent matters to the Court’s attention via letter. The next

  monthly report will be filed on June 13, 2025.
   DATED: May 16, 2025                           ROBBINS GELLER RUDMAN
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